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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF COLORADO

 In re:                                     )
                                            )
 11380 SMITH RD LLC                         )      Case No. 18-10965 TBM
 EIN XX-XXXXXXX                             )      Chapter 11
                                            )
 Debtor.                                    )


                    ORDER CONFIRMING SECOND AMENDED PLAN

         The Second Amended Plan of Reorganization under Chapter 11 of the Bankruptcy
  Code filed by 11380 Smith Rd LLC, dated September 20, 2018 (Docket No. 123, the
  “Plan”) is before the Court for confirmation. Debtor asserts it provided proper notice of the
  hearing on confirmation set for November 1, 2018, and the deadline for objections and
  voting on the Plan. No objections were filed. However, the Lender, 11380 East Smith RD
  Investments, LLC (the "Lender"), filed a "Reservations of Rights" (Docket No. 133, the
  "Reservation") wherein it preserved its right to object to the Plan if its Stipulation with the
  Debtor (Docket No. 132-1, the "Stipulation") was not approved. On October 31, 2018, this
  Court approved the Stipulation. (Docket No. 137.) Thus, no objection is pending.

          On October 29, 2018, the Debtor filed its Ballot Voting Report (Docket No. 136)
  and an "Offer of Proof in Lieu of Direct Testimony With Respect to Confirmation of
  Debtor's Second Amended Plan of Reorganization" (Docket No. 135, the "Proffer"). The
  Court has reviewed the Plan, the Ballot Voting Report, the Proffer and the record in
  this case. Having done so, the Court FINDS that the requirements for confirmation set
  forth in 11 U.S.C. §1129(a) have been satisfied. Accordingly, the Court:

        ORDERS that the Plan filed by 11380 Smith Rd LLC dated September 20, 2018
  at Docket No. 123 is confirmed;
       FURTHER ORDERS that the hearing on confirmation set for Thursday, November
 1, 2018 at 1:30 p.m. is VACATED; and

         FURTHER ORDERS that the Debtor shall FORTHWITH serve a copy of this Order
 on all creditors and parties in interest to provide them notice of the confirmation of the
 Plan (a copy of which may be reviewed on the Court's electronic docket for this case at
 Docket No. 123) as supplemented by the Stipulation; and file a certificate of service and
 compliance with this Order by 5:00 p.m. on November 1, 2018.

 DATED: October 31, 2018
                                            BY THE COURT:

                                            _________________________________
                                            Thomas B. McNamara,
                                            United States Bankruptcy Judge
